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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1}(B) Page | of 2 (Page 2 Not for Public Disclosure)
UNITED STATES DISTRICT COURT
for the

Southern District of Georgia
Statesboro Division

United States of America

 

 

 

v. )
) Case No: 6:06-cr-10 | _ ee
Tony Smith )
) USMNo: 23447-057__
Date of Original Judgment: February 1, 2008 _
Date of Previous Amended Judgment: Not Applicable ) Laura Harriman Wheaton
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [the defendant (1 the Director of the Bureau of Prisons [the court under 18 U.S.C.

§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 1 15-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
C]DENIED. [GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 326 months is reduced to 188 months

(Complete Parts | and II of Page 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release is
reduced to a term of four years.

Except as otherwise provided, all provisions of the judgment dated __ February |, 2008, shall remain in effect.

 

 

IT IS SO ORDERED.

Order Date: = — March 18,2019 oe Kee
Judge ’s signature

Effective Date: R. Stan Baker, United States District Judge, Southern District of Georgia

(if: different, from ‘order date) , Printed name and title
